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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                 Plaintiff,                        )
                                                   )        1:09-cr-86-03 SEB-KPF
        vs.                                        )
                                                   )
 CHARLES R. FIELDS,                                )
                                                   )
                 Defendant.                        )


                              ORDER REDUCING CJA VOUCHER

        The Court has received and reviewed the CJA Form 20 submitted by defense counsel, Belle

 T. Choate, seeking $7,895.00 in Government CJA funds for services rendered in this cause. While

 the Court appreciates Ms. Choate’s willingness to serve on the CJA panel, as well as her experience

 and competency as counsel, it is concerned that the attorneys’ fees sought in this instance appear to

 be excessive.

        In the Court’s view, this case was not particularly complex, and nothing suggests that the

 Defendant was difficult, uncooperative, or had problems understanding the nature of these

 proceedings, including the charges against him and the possible penalties. Nonetheless, the CJA

 Form 20 seeks compensation for 23.5 hours of file review and an additional 24 hours of client

 meetings. The Court also notes that the docket reflects no motions, briefs, sentencing memoranda,

 or other documents being filed which required extensive legal research or writing, yet the CJA Form

 20 seeks compensation for nearly 10 hours of legal research and brief writing.

        Given the amount of fees sought in light of the relatively low level of complexity of the case

 and the relatively high cooperation and understanding of the Defendant, we cannot otherwise justify

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 or explain the award requested. Defense counsel’s rather bare-bones time sheet entries failed to

 provide that justification, as well. Thus, the Court hereby reduces CJA voucher line 16(b) (obtaining

 and reviewing records) by $1,085.00 and CJA voucher line 16(c) (legal research and brief writing)

 by $1,082.50 and approves payment to defense counsel in the total amount of $5,727.50.

        IT IS SO ORDERED.



        04/08/2010
 Date: _______________
                                                          _______________________________
                                                           SARAH EVANS BARKER, JUDGE
                                                           United States District Court
                                                           Southern District of Indiana

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